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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )    Chapter 11
                                                          1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )    Case No. 19-34054 (SGJ)
                              Debtor.                                  )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )    Adv. Pro. No. 21-03000 (SGJ)
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                               )
HIGHLAND INCOME FUND, NEXTPOINT                                        )
STRATEGIC OPPORTUNITIES FUND, NEXPOINT                                 )
CAPITAL INC., AND CLO HOLDCO, LTD.,                                    )
                                                                       )
                             Defendants.                               )
                                                                       )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On January 16, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and, on January 19, 2021, via First Class Mail upon the
service lists attached hereto as Exhibit C and Exhibit D:

      •   Notice of Deposition of Grant Scott [Docket No. 26]

       Furthermore, on January 19, 2021, at my direction and under my supervision, employees
of KCC caused the following document to be served via Electronic Mail upon the service lists
attached hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists
attached hereto as Exhibit C and Exhibit D:


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   Notice of Deposition of Jason Post [Docket No. 27]


Dated: January 22, 2021
                                             /s/ Vincent Trang
                                             Vincent Trang
                                             KCC
                                             222 N Pacific Coast Highway, Suite 300
                                             El Segundo, CA 90245




                                             2
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                              EXHIBIT A
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                                                                              Exhibit A
                                                                        Core/2002 Service List
                                                                       Served via Electronic Mail


               Description                                 CreditorName                         CreditorNoticeName                         Email
                                                                                                                         ctimmons@abernathy-law.com;
  Counsel for Collin County Tax                                                             Chad Timmons, Larry R. Boyd, bankruptcy@abernathy-law.com;
  Assessor/Collector                       Abernathy, Roeder, Boyd & Hullett, P.C.          Emily M. Hahn                ehahn@abernathy-law.com
  Counsel for NexBank                      Alston & Bird LLP                                Jared Slade                  jared.slade@alston.com
  Counsel for NexBank                      Alston & Bird LLP                                Jonathan T. Edwards          jonathan.edwards@alston.com
                                                                                            William P. Bowden, Esq.,
  Counsel to Jefferies LLC                 Ashby & Geddes, P.A.                             Michael D. DeBaecke, Esq.    mdebaecke@ashbygeddes.com

  Counsel for Scott Ellington, Thomas
  Surgent, Frank Waterhouse, and Issac
  Leventon (the “Senior Employees”)    Baker & Mckenzie LLP                                 Debra A. Dandeneau              debra.dandeneau@bakermckenzie.com

  Counsel for Scott Ellington, Thomas
  Surgent, Frank Waterhouse, and Issac
  Leventon (the “Senior Employees”)    Baker & Mckenzie LLP                                 Michelle Hartmann               michelle.hartmann@bakermckenzie.com
                                                                                                                            jwelton@btlaw.com;
  Counsel for NWCC, LLC                    Barnes & Thornburg LLP                           Thomas G. Haskins, Jr.          lwohlford@btlaw.com

  Counsel to Acis Capital Management
  GP LLC and Acis Capital                                                                                                  mintz@blankrome.com;
  Management, L.P. (collectively, “Acis”) Blank Rome LLP                                    John E. Lucian, Josef W. Mintz jbibiloni@blankrome.com
                                                                                                                           michael.lynn@bondsellis.com;
                                                                                            D. Michael Lynn, John Y.       john@bondsellis.com;
  Counsel to James Dondero                 Bonds Ellis Eppich Schafer Jones LLP             Bonds, III, Bryan C. Assink    bryan.assink@bondsellis.com
  Counsel to Oracle America, Inc.          Buchalter, A Professional Corporation            Shawn M. Christianson, Esq. schristianson@buchalter.com
  Counsel for UBS Securities LLC and                                                        Martin A. Sosland and Candice martin.sosland@butlersnow.com;
  UBS AG, London Branch                    Butler Snow LLP                                  M. Carson                      candice.carson@butlersnow.com
  Counsel to Integrated Financial                                                           Candace C. Carlyon, Esq.,      ccarlyon@carlyoncica.com;
  Associates Inc.                          Carlyon Cica Chtd.                               Tracy M. Osteen, Esq.          tosteen@carlyoncica.com
  Counsel to the Intertrust Entities and
  the CLO Entities                         Chipman, Brown, Cicero & Cole, LLP               Mark L. Desgrosseilliers        desgross@chipmanbrown.com

  Creditor                                 Cole, Schotz, Meisel, Forman & Leonard, P.A. Michael D. Warner, Esq.             mwarner@coleschotz.com
  Counsel to Siepe LLC                     Condon Tobin Sladek Thornton PLLC            J. Seth Moore                       smoore@ctstlaw.com
  Counsel to Patrick Daugherty (“Mr.
  Daugherty”)                              Cross & Simon LLC                                Michael L. Vild, Esquire        mvild@crosslaw.com
  Counsel to Jefferies LLC                 Dentons US LLP                                   Lauren Macksoud, Esq.           lauren.macksoud@dentons.com

  Counsel to Jefferies LLC                 Dentons US LLP                                   Patrick C. Maxcy, Esq.          patrick.maxcy@dentons.com
  Secured Creditor                         Frontier State Bank                              Attn: Steve Elliot              selliott@frontier-ok.com
  Counsel to the Redeemer Committee
  of the Highland Crusader
  Fund                                     Frost Brown Todd LLC                             Mark A. Platt                   mplatt@fbtlaw.com
  Counsel to Alvarez & Marsal CRF
  Management LLC as Investment                                                              Marshall R. King, Esq., Michael mking@gibsondunn.com;
  Manager of the Highland Crusader                                                          A. Rosenthal, Esq. & Alan       mrosenthal@gibsondunn.com;
  Funds                                    Gibson, Dunn & Crutcher LLP                      Moskowitz, Esq.                 amoskowitz@gibsondunn.com
  Counsel to Alvarez & Marsal CRF
  Management LLC as Investment
  Manager of the Highland Crusader
  Funds                                    Gibson, Dunn & Crutcher LLP                      Matthew G. Bouslog, Esq.        mbouslog@gibsondunn.com
                                                                                            Melissa S. Hayward, Zachery     MHayward@HaywardFirm.com;
  Counsel for the Debtor                   Hayward & Associates PLLC                        Z. Annable                      ZAnnable@HaywardFirm.com
                                                                                                                            ddraper@hellerdraper.com;
  Counsel for the Dugaboy Investment                                                        Douglas S. Draper, Leslie A.    lcollins@hellerdraper.com;
  Trust and Get Good Trust                 Heller, Draper & Horn, L.L.C.                    Collins, Greta M. Brouphy       gbrouphy@hellerdraper.com
  Equity Holders                           Hunter Mountain Investment Trust                 c/o Rand Advisors LLC           Jhonis@RandAdvisors.com
  IRS                                      Internal Revenue Service                         Attn Susanne Larson             SBSE.Insolvency.Balt@irs.gov
  Counsel to Crescent TC Investors,
  L.P.                                     Jackson Walker L.L.P.                            Michael S. Held                 mheld@jw.com

  Secured Creditor                         Jefferies LLC                                    Director of Compliance          cbianchi@jefferies.com
  Secured Creditor                         Jefferies LLC                                    Office of the General Counsel   cbianchi@jefferies.com

  Counsel to the Redeemer Committee                                                                                         mhankin@jenner.com;
  of the Highland Crusader Fund            Jenner & Block LLP                               Marc B. Hankin, Richard Levin   rlevin@jenner.com
  Counsel for CCS Medical, Inc.            Jones Day                                        Amanda Rush                     asrush@jonesday.com
  Counsel to the Issuers (group of 25                                                       Joseph E. Bain, Amy K.          jbain@joneswalker.com;
  separate Cayman issuers of loan)         Jones Walker LLP                                 Anderson                        aanderson@joneswalker.com




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                                                                               Exhibit A
                                                                         Core/2002 Service List
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               Description                                 CreditorName                              CreditorNoticeName                             Email
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., et al           K&L Gates LLP                                        Artoush Varshosaz               artoush.varshosaz@klgates.com
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., et al           K&L Gates LLP                                        James A. Wright III             james.wright@klgates.com
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., et al           K&L Gates LLP                                        Stephen G. Topetzes             stephen.topetzes@klgates.com
  Counsel to CLO Holdco, Ltd.              Kane Russell Coleman Logan PC                        John J. Kane                    jkane@krcl.com
  Counsel for Highland CLO Funding
  Ltd.                                     King & Spalding LLP                                  Paul R. Bessette                pbessette@kslaw.com
  Counsel to BET Investments II, L.P.      Kurtzman Steady, LLC                                 Jeffrey Kurtzman, Esq.          Kurtzman@kurtzmansteady.com
  Counsel to UBS Securities LLC and
  UBS AG London Branch (“UBS”)             Latham & Watkins LLP                                 Asif Attarwala                  asif.attarwala@lw.com
  Counsel to UBS Securities LLC and
  UBS AG London Branch (“UBS”)             Latham & Watkins LLP                                 Jeffrey E. Bjork                jeff.bjork@lw.com

  Counsel to Coleman County TAD,
  Kaufman County, Upshur County,
  Fannin CAD, Tarrant County, Grayson
  County, Allen ISD, Dallas County,                                                             Elizabeth Weller, Laurie A.
  Irving ISD, and Rockwall CAD        Linebarger Goggan Blair & Sampson LLP                     Spindler                        dallas.bankruptcy@publicans.com

  Counsel for Jack Yang and Brad Borud Loewinsohn Flegle Deary Simon LLP                        Daniel P. Winikka               danw@lfdslaw.com
  Creditor                             Lynn Pinker Cox & Hurst, L.L.P.                          Michael K. Hurst, Esq.          mhurst@lynnllp.com
  Equity Holders                       Mark K. Okada                                                                            mokadadallas@gmail.com

  Counsel to the Redeemer Committee                                                                                             rdehney@mnat.com;
  of the Highland Crusader Fund            Morris, Nichols, Arsht & Tunnell LLP                 Curtis S. Miller, Kevin M. Coen cmiller@mnat.com
                                                                                                Joseph T. Moldovan, Esq. &
  Counsel to Meta-e Discovery, LLC         Morrison Cohen LLP                                   Sally Siconolfi, Esq.           bankruptcy@morrisoncohen.com
  Bank                                     NexBank                                              John Danilowicz                 john.holt@nexbankcapital.com
  Counsel to California Public
  Employees’ Retirement System
  (“CalPERS”)                              Nixon Peabody LLP                                    Louis J. Cisz, III, Esq.        lcisz@nixonpeabody.com
                                                                                                Securities & Exchange
  SEC Headquarters                         Office of General Counsel                            Commission                     SECBankruptcy-OGC-ADO@SEC.GOV
  US Trustee for Northern District of TX   Office of the United States Trustee                  Lisa L. Lambert, Esq           lisa.l.lambert@usdoj.gov
                                                                                                John A. Morris and Gregory V.  jmorris@pszjlaw.com;
  Counsel for the Debtor                   Pachulski Stang Ziehl & Jones LLP                    Demo                           gdemo@pszjlaw.com
                                                                                                                               rpachulski@pszjlaw.com;
                                                                                                Richard M. Pachulski, Jeffrey jpomerantz@pszjlaw.com;
                                                                                                N. Pomerantz, Ira D. Kharasch, ikharasch@pszjlaw.com;
  Counsel for the Debtor                   Pachulski Stang Ziehl & Jones LLP                    James E. O’Neill               joneill@pszjlaw.com
                                                                                                                               rpachulski@pszjlaw.com;
                                                                                                Richard M. Pachulski, Jeffrey jpomerantz@pszjlaw.com;
                                                                                                N. Pomerantz, Ira D. Kharasch, ikharasch@pszjlaw.com;
  Counsel for the Debtor                   Pachulski Stang Ziehl & Jones LLP                    James E. O’Neill               joneill@pszjlaw.com
  Pension Benefit Guaranty Corporation                                                                                         baird.michael@pbgc.gov;
  (“PBGC”)                                 Pension Benefit Guaranty Corporation                 Michael I. Baird               efile@pbgc.gov
  Counsel to City of Garland, Garland      Perdue, Brandon, Fielder, Collins & Mott,
  ISD, Wylie ISD                           L.L.P.                                               Linda D. Reece                  lreece@pbfcm.com
                                                                                                Jeremy W. Ryan, Esq., R.        jryan@potteranderson.com;
  Delaware counsel to Alvarez & Marsal                                                          Stephen McNeill, Esq. & D.      rmcneill@potteranderson.com;
  CRF Management LLC                       Potter Anderson & Corroon LLP                        Ryan Slaugh, Esq.               rslaugh@potteranderson.com
  Secured Creditor                         Prime Brokerage Services                             Jefferies LLC                   cbianchi@jefferies.com
  Counsel to Patrick Daugherty             Spencer Fane LLP                                     Jason P. Kathman                jkathman@spencerfane.com
  Counsel to UBS Securities LLC and                                                             Michael J. Merchant, Sarah E.   merchant@rlf.com;
  UBS AG London Branch (“UBS”)             Richards, Layton & Finger PA                         Silveira                        silveira@rlf.com
  Counsel to Hunter Mountain Trust         Rochelle McCullough, LLP                             E. P. Keiffer                   pkeiffer@romclaw.com

  Counsel for Scott Ellington, Thomas                                                                                           judith.ross@judithwross.com;
  Surgent, Frank Waterhouse, and Issac                                                          Judith W. Ross, Frances A.      frances.smith@judithwross.com;
  Leventon (the “Senior Employees”)      Ross & Smith, PC                                       Smith, Eric Soderlund           eric.soderlund@judithwross.com
  Counsel to the Intertrust Entities and
  the Issuers (group of 25 separate                                                             David J. Karp, James V.         david.karp@srz.com;
  Cayman issuers of loan)                Schulte Roth & Zabel LLP                               Williams III                    jay.williams@srz.com
                                                                                                Andrew Calamari, Regional       bankruptcynoticeschr@sec.gov;
  SEC Regional Office                      Securities & Exchange Commission                     Director                        nyrobankruptcy@sec.gov




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                                                                                Exhibit A
                                                                          Core/2002 Service List
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               Description                                  CreditorName                           CreditorNoticeName                        Email
                                                                                              Sharon Binger, Regional
  SEC Regional Office                       Securities & Exchange Commission                  Director                      philadelphia@sec.gov
                                                                                                                            mclemente@sidley.com;
  Counsel to Official Committee of                                                            Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
  Unsecured Creditors                       Sidley Austin LLP                                 Russell, Elliot A. Bromagen   ebromagen@sidley.com
                                                                                                                            preid@sidley.com;
                                                                                              Penny P. Reid, Paige Holden   pmontgomery@sidley.com;
  Counsel to Official Committee of                                                            Montgomery, Charles M.        cpersons@sidley.com;
  Unsecured Creditors                       Sidley Austin LLP                                 Person, Juliana Hoffman       jhoffman@sidley.com
                                                                                              Division of Corporations -
  DE Secretary of State                     State of Delaware                                 Franchise Tax                 dosdoc_bankruptcy@state.de.us
  Counsel to the Hunter Mountain Trust
  (“Hunter”)                                Sullivan Hazeltine Allinson LLC                   William A. Hazeltine, Esq.    whazeltine@sha-llc.com
  Equity Holders                            The Dugaboy Investment Trust                                                    gscott@myersbigel.com
                                            The Mark and Pamela Okada Family Trust -
  Equity Holders                            Exempt Trust #1                                                                 mokadadallas@gmail.com
                                            The Mark and Pamela Okada Family Trust -
  Equity Holders                            Exempt Trust #2                                                                 mokadadallas@gmail.com
  Counsel to the United States Internal
  Revenue Service                           U.S. Department of Justice, Tax Division          David G. Adams                david.g.adams@usdoj.gov
  United States Attorney General            United States Attorney General                    U.S. Department of Justice    askdoj@usdoj.gov

  Counsel to Acis Capital Management                                                                                        rpatel@winstead.com;
  GP LLC and Acis Capital                                                                     Rakhee V. Patel, Phillip      plamberson@winstead.com;
  Management, L.P. (collectively, “Acis”)   Winstead PC                                       Lamberson                     achiarello@winstead.com
  Counsel for Frank Waterhouse, Scott
  B. Ellington, Isaac Leventon, Jean
  Paul Sevilla, Hunter Covitz, and
  Thomas Surgent (the “Employees”)          Winston & Strawn LLP                              Attn: David Neier             dneier@winston.com
  Counsel for Frank Waterhouse, Scott
  B. Ellington, Isaac Leventon, Jean
  Paul Sevilla, Hunter Covitz, and
  Thomas Surgent (the “Employees”)          Winston & Strawn LLP                              Attn: Katherine A. Preston    kpreston@winston.com
  Counsel for Frank Waterhouse, Scott
  B. Ellington, Isaac Leventon, Jean
  Paul Sevilla, Hunter Covitz, and                                                            Attn: Thomas M. Melsheimer;  tmelsheimer@winston.com;
  Thomas Surgent (the “Employees”)          Winston & Strawn LLP                              Natalie L. Arbaugh           narbaugh@winston.com
                                                                                                                           bankfilings@ycst.com;
                                                                                                                           mnestor@ycst.com;
                                                                                              Michael R. Nestor, Edmon L.  emorton@ycst.com;
  Counsel to Official Committee of                                                            Morton, Sean M. Beach, Esq., sbeach@ycst.com;
  Unsecured Creditors                       Young Conaway Stargatt & Taylor, LLP              Jaclyn C. Weissgerber, Esq.  jweissgerber@ycst.com




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                              EXHIBIT B
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                                                          Exhibit B
                                                       Affected Parties
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              Description                CreditorName             CreditorNoticeName                    Email
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 Nexpoint Advisors, L.P., Highland
 Income Fund, Nextpoint Strategic
 Opportunities Fund and Nexpoint
 Capital Inc.                        K&L Gates LLP           Artoush Varshosaz            artoush.varshosaz@klgates.com
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 Nexpoint Advisors, L.P., Highland
 Income Fund, Nextpoint Strategic
 Opportunities Fund and Nexpoint
 Capital Inc.                        K&L Gates LLP           James A. Wright III          james.wright@klgates.com
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 Nexpoint Advisors, L.P., Highland
 Income Fund, Nextpoint Strategic
 Opportunities Fund and Nexpoint
 Capital Inc.                        K&L Gates LLP        Stephen G. Topetzes             stephen.topetzes@klgates.com
                                     Kane Russell Coleman
 Counsel for CLO Holdco, Ltd.        Logan PC             John J. Kane                    jkane@krcl.com
 Counsel for CLO Holdco, Ltd.        Myers Bigel P.A.     Grant Scott, Director           gscott@myersbigel.com
                                                                                          mclemente@sidley.com;
                                                             Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
 Counsel to Official Committee of                            Russell, Elliot A. Bromagen, ebromagen@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP       Dennis M. Twomey             dtwomey@sidley.com
                                                                                          preid@sidley.com;
                                                             Penny P. Reid, Paige Holden pmontgomery@sidley.com;
 Counsel to Official Committee of                            Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP       Chandler M. Rognes           crognes@sidley.com




Highland Capital Management, L.P.
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                              EXHIBIT C
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                                                                                                               Exhibit C
                                                                                                        Core/2002 Service List
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               Description                            CreditorName                   CreditorNoticeName                      Address1                      Address2              Address3             City     State     Zip
  Bank                                    BBVA                                   Michael Doran                   8080 North Central Expressway      Suite 1500                                  Dallas         TX    75206
                                                                                 Centralized Insolvency
  IRS                                     Internal Revenue Service               Operation                       PO Box 7346                                                                    Philadelphia   PA    19101-7346
  Secured Creditor                        KeyBank National Association           as Administrative Agent         225 Franklin Street, 18th Floor                                                Boston         MA    02110
  Secured Creditor                        KeyBank National Association           as Agent                        127 Public Square                                                              Cleveland      OH    44114
  Texas Attorney General                  Office of the Attorney General         Ken Paxton                      300 W. 15th Street                                                             Austin         TX    78701
                                                                                                                                                    10th & Constitution
  Attorney General of the United States   Office of the Attorney General                                         Main Justice Building, Room 5111   Avenue, N.W.                                Washington     DC    20530
  US Attorneys Office for Northern
  District of TX                          Office of the United States Attorney   Erin Nealy Cox, Esq             1100 Commerce Street, 3rd Floor                                                Dallas         TX    75202
                                                                                 Revenue Accounting Division-
  TX Comptroller of Public Accounts       State Comptroller of Public Accounts   Bankruptcy Section              PO Box 13258                                                                   Austin         TX    78711
  Equity Holders                          Strand Advisors, Inc.                                                  300 Crescent Court                 Suite 700                                   Dallas         TX    75201

  TX AG Office                            Texas Attorney Generals Office         Bankruptcy-Collections Division PO Box 12548                                                                   Austin         TX    78711-2548
  U.S. Department of the Treasury         US Department of the Treasury          Office of General Counsel       1500 Pennsylvania Avenue, NW                                                   Washington     DC    20220
                                                                                                                                                    Carvel State Office
  Delaware Division of Revenue            Zillah A. Frampton                     Bankruptcy Administrator        Delaware Division of Revenue       Building, 8th Floor     820 N. French Street Wilmington    DE    19801




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                              EXHIBIT D
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                                                                        Exhibit D
                                                                     Affected Parties
                                                                Served via First Class Mail
                  Description               CreditorName        CreditorNoticeName               Address1                 City   State      Zip
     Counsel for Highland Capital
     Management Fund Advisors, L.P.,
     Nexpoint Advisors, L.P., Highland
     Income Fund, Nextpoint Strategic
     Opportunities Fund and Nexpoint
     Capital Inc.                        K&L Gates LLP         Artoush Varshosaz       1717 Main Street, Suite 2800   Dallas     TX      75201
     Counsel for Highland Capital
     Management Fund Advisors, L.P.,
     Nexpoint Advisors, L.P., Highland
     Income Fund, Nextpoint Strategic
     Opportunities Fund and Nexpoint
     Capital Inc.                        K&L Gates LLP         James A. Wright III     1 Lincoln Street               Boston     MA      02110
     Counsel for Highland Capital
     Management Fund Advisors, L.P.,
     Nexpoint Advisors, L.P., Highland
     Income Fund, Nextpoint Strategic
     Opportunities Fund and Nexpoint
     Capital Inc.                        K&L Gates LLP        Stephen G. Topetzes      1601 K Street, NW              Washington DC      20006-1600
                                         Kane Russell Coleman
     Counsel for CLO Holdco, Ltd.        Logan PC             John J. Kane             901 Main Street, Suite 5200    Dallas     TX      75242-1699
     Counsel for CLO Holdco, Ltd.        Myers Bigel P.A.     Grant Scott, Director    4140 Park Lake Ave, Ste 600    Raleigh    NC      27612




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